      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 1 of 18




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  WAYCROSS DIVISION

CARLOS WARDLAW and LEVERTIS )
VICKERS, individually and on behalf of )
all those similarly situated,          )
                                       )
                       Plaintiffs,     )
                                       )
v.                                     )               Case No. 5:17-CV-00010-LGW-RSB
                                       )
FREEDOM TRAILERS, LLC, and             )
MARK BAXLEY,                           )
                                       )
                       Defendants.     )

                           PLAINTIFF’S UNOPPOSED MOTION
                           FOR ATTORNEY’S FEES AND COSTS

        Plaintiffs Carlos Wardlaw and Levertis Vickers (“Plaintiffs”), by and through their

undersigned counsel, respectfully request that the Court approve their request for attorneys’ fees as

part of the settlement of this action.1 In support of their motion, Plaintiffs state as follows:

A.      Settlement of the Action

        This action began as a proposed collective action under the Fair Labor Standards Act when

Plaintiff filed their Complaint on January 18, 2017 seeking overtime compensation for themselves

and other similarly-situated employees. (Dkt. 1.) The action quickly morphed into an overtime and

retaliation case when Defendants fired Plaintiffs immediately after being served with the

Complaint. (Dkt. 16.) Specifically, on February 3, 2017, Defendants fired Plaintiffs and provided

them with separation notices that stated Defendants terminated Plaintiffs three days earlier because,

1
         Defendants do not oppose Plaintiffs’ request, but they do not agree with all of Plaintiffs’ assertions
in this motion.
       Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 2 of 18




“Employee filed suit against the company and was terminated.”                     (Id. ¶¶ 11-12.)      Plaintiffs

immediately moved for a preliminary injunction and a temporary restraining order, and after the

parties’ counsel worked together to resolve the issue, Defendants returned Plaintiffs to work.

(Dkts. 12, 23.)

        On February 6, 2017, Plaintiffs moved to conditionally certify the class. (Dkt. No. 13.)

After the parties worked cooperatively to agree on the motion and the notice process, the Court

granted Plaintiffs’ motion and authorized Plaintiffs to send a judicially-approved notice to all

potential opt-in plaintiffs. (Dkt. 75.)

        A review of Defendants’ employee records showed that 357 current and former employees

were eligible to participate in this action. After Plaintiffs sent notice of this action to each of those

employees, 134 individuals (or nearly 40% of eligible employees) opted-in to this collective

action.2

        On June 20, 2017, Plaintiffs filed an Emergency Motion (1) to Reopen Case for Limited

Purpose of Addressing Motion for Protective Order and (2) for Protective Order and Other Relief

and Brief in Support Thereof. (Dkt. 105.) Plaintiffs asserted, inter alia, that Defendants had


2
         Nearly forty percent represents a high opt-in rate.                   See Iliza Bershad, “Employing
Arbitration: FLSA Collective Actions Post-Concepcion,” 34 Cardozo L. Rev. 359, 385 (2012) (“[S]tudies
show that only 15.71% of potential plaintiffs consent to opt in to collective action classes under FLSA.
These low opt-in rates are attributed to many factors, most of which are grounded in the demographic of the
typical FLSA plaintiff. Low income individuals, who are most at risk of wage-hour violations, tend to be the
most mobile and have the highest turnover rates, and thus they often do not receive notice of impending
litigation when it is sent to them. Employees with low education levels, such as likely FLSA plaintiffs, are
also less likely to understand and carefully read an arbitration agreement, and are equally unlikely to
understand a notice of an impending lawsuit. Finally, even if the notice is understood, the employee will
often hesitate to sign it for fear of retaliation or deportation.”); see also Doe 1-2 v. Deja Vu Servs., Inc., No.
2:16-CV-10877, 2017 WL 2629101, at *8 (E.D. Mich. June 19, 2017) (finding a 16% opt-in rate to be
“high”); Rodriguez v. D.M. Camp & Sons, 2013 WL 2146927, *4 (E.D. Cal. 2013) (15.05% claims
rate); Scott v. Aetna Servs., Inc., 201 F.R.D. 261, 266-67 (D. Conn. 2002) (7.8% opt-in rate
for FLSA class); Jankowski v. Castaldi, 2006 WL 118973, *2 (E.D.N.Y. 2006) (8.9% opt-in rate).
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 3 of 18




interfered with individuals from opting-in to this action and asked the Court to re-open the opt-in

period for thirty days, require Defendants to provide a curative notice, and hold that all withdrawals

submitted at that point were ineffective. (Id.) Over the course of the next week, the parties’

counsel worked together and resolved the issues raised in Plaintiffs’ Emergency Motion. On June

26, 2017, the Court held a telephonic conference on Plaintiffs’ Emergency Motion and granted

Plaintiffs’ Emergency Motion four days later. (Dkt. 108.) After the reopened opt-in period closed,

all but two employees who had withdrawn their consent to join the action decided to remain in the

case as Opt-In Plaintiffs.

       From about May until September 2017, Defendants provided to Plaintiffs weekly pay and

time records for 134 individuals spanning the previous three years.3 In total, Defendants produced

to Plaintiffs tens of thousands of pages of time cards and pay records, and both parties spent

several months reviewing the records in order to calculate the amounts due to the Plaintiffs and

Opt-In Plaintiffs. Because Defendants had been paying employees on a “production” basis that

varied week to week, the parties’ calculations included discerning the proper hourly rate for every

individual week, calculating the hours worked for every individual week, and then running an

analysis to determine how much overtime may be owed, if any, for each individual week. Both

parties ran this analysis for all 130+ individuals, spanning every week for a three-year period.

       On September 21, 2017, the parties participated in a full-day mediation with Daniel Klein,

Esq., a well-respected employment law mediation, and reached a settlement.4


3
        Defendants changed their payroll practices at issue in March 2017 and began paying their
employees on an hourly basis, and they have continued to pay employees for the overtime that they worked
ever since.
4
        Defendants agreed to pay a total settlement amount of $500,000 out of a common fund. The fund
includes (1) payments to members of the settlement class based on their hours worked, hourly rates, and
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 4 of 18




        Based on a week-by-week analysis of three years of pay and time records for each of 134

employees, Plaintiffs’ counsel believes that the settlement compensates participating employees

for all overtime that they may be owed over a three-year period and a significant portion of the

potential liquidated damages. By any measure, this was a superb outcome for the Named and

Opt-in Plaintiffs.

        After receiving notice of the settlement, including the amounts they may receive in the

settlement and the proposed amount of attorneys’ fees, none of the 134 Opt-In Plaintiffs rejected

the settlement.5     Plaintiffs’ counsel’s representation even provided a significant benefit to

employees who did not opt-in to this matter: Defendants changed their pay practices after

Plaintiffs filed this lawsuit and began to compensate employees for overtime worked. These facts

show that the results achieved by Plaintiffs’ counsel for Defendants’ employees were significant.

B.      Attorneys’ Fee Request

        Section 216(b) of the FLSA states that the Court “shall, in addition to any judgment

awarded to the plaintiff or plaintiffs, allow a reasonable attorney’s fee to be paid by the defendant,

and costs of the action.” 29 U.S.C. § 216(b). The Settlement Agreement states that Defendants



length of service, (2) Plaintiffs’ attorneys’ fees, costs and expenses approved by the Court, (3) any Court-
approved service award, and (4) the full amount of class members’ W-2 withholdings. A copy of the
Settlement Agreement is attached to the parties’ Joint Motion to Approve, filed concurrently with this
motion, as Exhibit 1.
5
        See Garner v. State Farm Mut. Auto. Ins., No. CV 08 1365 CW (EMC), 2010 WL 1687832, *15
(N.D. Cal. Apr. 22, 2010) (finding an opt-out rate of 0.4 percent supported “the fairness of the
Settlement”); Mangone v. First USA Bank, 206 F.R.D. 222, 227 (S.D. Ill. 2001) (an opt-out rate of
0.10614 percent and an objection rate of 0.0052 percent represented “overwhelming support” for a
settlement by class members and “strong circumstantial evidence supporting the fairness of the Settlement”);
see also Churchill Village, 361 F.3d at 577 (affirming approval of a class action settlement where 90,000
class members received notice, and only 45 objections were received); In re Austrian and German Bank
Holocaust Litig., 80 F.Supp.2d 164, 175 (S.D.N.Y. 2000) (finding a small number of objectors “indicative of
the adequacy of the settlement”).
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 5 of 18




shall pay Plaintiffs’ attorneys’ fees and costs out of the common fund, and the Notice of

Settlement provided to Opt-In Plaintiffs states that Plaintiffs will seek attorneys’ fees not to

exceed 33.33% of the common fund. Whether the Court analyzes this matter using the common

fund or the lodestar method, as described below, the result is nearly the same. Thus, should the

Court approve the Settlement Agreement in total, Plaintiffs seek attorneys’ fees of $164,927.186

and costs of $5,213.46.

       In this action, Plaintiffs and each Opt-In Plaintiff stand to recover a settlement payment net

of all fees and costs that is well in excess of the amount to be awarded if Defendants succeeded on

their willfulness defense to a third year of recovery of overtime compensation or their “good faith”

defense to doubling back pay for liquidated damages. Plaintiffs’ counsel’s work in prosecuting

this case also resulted in Defendants’ change of its pay practices on a going forward basis to the

benefit of all currently employed non-exempt employees. Thus, Plaintiffs have succeeded on

significant claims, and Plaintiffs’ counsel is entitled to payment of their attorneys’ fees and costs

in this action out of the common fund. Kreager v. Solomon & Flanagan, P.A., 775 F.2d 1541,

1542 (11th Cir. 1985) (“Fee awards are therefore mandatory for prevailing plaintiffs in FLSA

cases.”).

       The Court has wide discretion in calculating an attorneys’ fee award.            Martinez v.

Hernando Cty. Sheriff’s Office, 579 F. App’x 710, 713 (11th Cir. 2014).               In Camden I

Condominium Assoc. v. Dunkle, 946 F.2d 768 (11th Cir. 1991), the Eleventh Circuit held that

“attorneys’ fees awarded from a common fund shall be based upon a reasonable percentage of the

fund established for the benefit of the class.” 946 F.2d at 774. It also stated that the majority of

common fund fee awards fall between 20% and 30% of the fund, and it directed district courts to

6
       This figure is one-third of the common fund after costs have been deducted.
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 6 of 18




view this range as a benchmark which “may be adjusted in accordance with the individual

circumstances of each case” using the factors set forth in Johnson v. Georgia Highway Express,

Inc., 488 F.2d 714 (5th Cir. 1974), abrogated on other grounds, Blanchard v. Bergeron, 489 U.S.

87, 109 S.Ct. 939, 103 L.Ed.2d 67 (1989). Id. at 775.

       The Johnson factors include: (1) the time and labor required; (2) the difficulty of the

issues; (3) the skill required; (4) the preclusion of other employment by the attorney because he

accepted the case; (5) the customary fee in the community; (6) whether the fee is fixed or

contingent; (7) time limitations imposed by the client or circumstances; (8) the amount involved

and the results obtained; (9) the experience, reputation, and ability of the attorneys; (10) the

undesirability of the case; (11) the nature and length of the professional relationship with the

client; and (12) awards in similar cases. Johnson, 488 F.2d at 717–19. In addition to these

factors, the Eleventh Circuit also directed district courts to consider “whether there are any

substantial objections by class members or other parties to the settlement terms or the fees

requested by counsel” and “any non-monetary benefits conferred upon the class by the

settlement,” and it noted that “[i]n most instances, there will also be additional factors unique to a

particular case which will be relevant to the district court’s consideration.” See Camden I, 946

F.2d at 775.

       Many district courts in the Eleventh Circuit have followed the Eleventh Circuit’s Camden I

directive and approved attorneys’ fees in the range sought by Plaintiffs here. See, e.g., Guzman v.

The Consumer Law Group, PA, et al., No. 1:11-cv-00187-JRH, 2016 WL 755915, at *4 (S.D. Ga.

May 11, 2016) (approving 33.33% of the settlement fund in attorneys’ fees after analyzing

Johnson factors and noting that the settlement results were favorable to class members and no

class member objected, but without a retaliation component); Duque v. 130 NE 40th St., LLC, No.
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 7 of 18




14-23965-CIV, 2016 WL 7442797, at *3 (S.D. Fla. Jan. 27, 2016) (approving 33% of the

settlement fund in attorneys’ fees after explaining that counsel achieved substantial results for

class and no class member opted out of the settlement, but without a retaliation component);

Pierre-Val v. Buccaneers Ltd. P'ship, No. 814CV01182CEHEAJ, 2015 WL 12843849, at *2

(M.D. Fla. Dec. 7, 2015) (awarding 32% of common fund as attorneys’ fees in FLSA action (no

retaliation component) and noting that this figure “is consistent with the fees awarded by other

courts in the Eleventh Circuit”); Seghroughni v. Advantus Rest., Inc., No. 8:12-CV-2000-T-

23TBM, 2015 WL 2255278, at *1 (M.D. Fla. May 13, 2015) (awarding 33.33% of common fund

as attorneys’ fees in FLSA action (no retaliation component) based on “the results obtained by the

Lead Counsel, the risks associated with this action, the Lead Counsel’s ability and experience in

class action litigation, and fee awards in comparable cases.”); Vogenberger v. ATC Fitness Cape

Coral, LLC, No. 2:14-CV-436-FTM-29CM, 2015 WL 1883537, at *4 (M.D. Fla. Apr. 24, 2015)

(finding a 33% attorneys’ fee to be in line with those awarded by other courts in this district in

FLSA matter, but case did not involve retaliation); Hosier v. Mattress Firm, Inc., No. 3:10-CV-

294-J-32JRK, 2012 WL 2813960, at *6 (M.D. Fla. June 8, 2012), report and recommendation

adopted, No. 3:10-CV-294-J-32JRK, 2012 WL 2838610 (M.D. Fla. July 10, 2012) (awarding

30% of common fund as attorneys’ fees in FLSA action without retaliation component); Moultry

v. Cemex, Inc., Case No. 8:07-cv-00453-MSS, Dkt. 145 (M.D. Fla. 2008) (awarding 32.25%

of common fund as attorneys’ fees). Plaintiffs attorneys’ fee request is reasonable whether the

Court analyzes it under the “percent of the fund” or, alternatively, uses the “lodestar” method7.


7
       Courts in this Circuit have alternatively applied the lodestar method to determining attorneys’ fees
in FLSA actions, often when cases involve no common fund. In determining an objective estimate of the
value of a lawyer’s services using the lodestar method, a court must multiply those hours reasonably
expended by a reasonable hourly rate, to compute the “lodestar.” Hensley v. Eckerhart, 461 U.S. 424, 433
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 8 of 18




        Analyzing the Johnson factors:

                    i.       The Time and Labor Required:

        The hours claimed or spent on a case are “[t]he most useful starting point for determining

the amount of a reasonable fee.” Hensley, 461 U.S. at 433. Counsel must exercise “billing

judgment” in determining the hours reasonably expended on the merits (id. at 437), and

attorneys should also be compensated for the time reasonably expended in seeking an award

of fees from the court. ACLU v. Barnes, 168 F.3d 423, 428 (11th Cir. 1999); Johnson, 706 F.2d

1205, 1207; Yule v. Jones, 766 F. Supp. 2d 1333, 1347 (N.D. Ga. 2010).

         Counsel’s certification that the work itemized has in fact been performed is “entitled to

 considerable weight on the issue of time required.” Perkins v. Mobile Hous. Bd., 847 F.2d 735,

 738 (11th Cir. 1988); Frazier v. Wurth Indus. of N. Am., LLC, 2009 U.S. Dist. LEXIS 94444

 (N.D. Ga. 2009).        Indeed, this Circuit has stated that “[s]worn testimony that, in fact, it took

 the time claimed is evidence of considerable weight on the issue of the time required in the usual

 case and, therefore, it must appear that the time claimed is obviously and convincingly

 excessive under the circumstances.” Perkins, 847 F.2d at 738.

         In making a fee request, “[c]ounsel ... should make a good faith effort to exclude


(1983); Kenny A. ex rel. Winn v. Perdue, 547 F.3d 1319 (11th Cir. 2008). There is a “strong presumption
that the lodestar reflects a reasonable sum the attorneys deserve.” Bivins v. Wrap It Up, Inc. 380 Fed.
App’x. 888, 891 (11th Cir. 2010) (internal quotations omitted); Webster Greenthumb Co. v. Fulton
Cty., 112 F.2d 1339, 1349 (N.D. Ga. 2000). Once the lodestar has been established, a court can then
determine whether any adjustments to the lodestar are appropriate. Hensley, 461 U.S. at 434; Jan R.
Smith Construction Co. v. DeKalb County, 18 F.Supp.2d 1365, 1374 (N.D. Ga. 1998). While the
“lodestar” method effectively replaced the balancing test prescribed by Johnson v. Georgia Highway
Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), the twelve Johnson factors “might still be
considered in terms of their influence on the lodestar amount.” Norman, 836 F.2d at 1299; see also
Farley v. Nationwide Mutual Ins. Co., 197 F.3d 1322, 1340 (11th Cir. 1999) (“The [district] court
properly considered the reasonable attorney fee guidelines the former Fifth Circuit outlined in Johnson. .
. which we have subsequently adopted for reasonable fee determinations for prevailing parties”).
        Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 9 of 18




from a fee request hours that are excessive, redundant, or otherwise unnecessary.” Hensley, 461

U.S. at 434; Norman, 836 F.2d at 1301.           “[C]ompensable activities include pre-litigation

services in preparation of filing the lawsuit, background research and reading in complex

cases, productive attorney discussions and strategy sessions, negotiations, routine activities such

as making telephone calls and reading mail related to the case, monitoring and enforcing the

favorable judgment, and even preparing and litigating the request for attorney’s fees.”

Weissinger, 2009 WL 1971612, at *6 (internal citations omitted).

         Plaintiffs’ attorneys have maintained detailed, accurate and contemporaneous records

of time spent working in this matter and expenses incurred in prosecuting the matter, which are

exhibits to the Declarations of Andrew Weiner (Exhibit A hereto) and Oscar Prioleau

(Exhibit B hereto).        Plaintiffs’ attorneys have excluded from their request time

communications between co-counsel and the time they anticipate they will spend on the

administration of the settlement, if approved.

         Taken as a whole, the time and labor required to prosecute this action was substantial,

but not excessive.   Because the Court in its experience is well aware of the range of attorney’s

fees that would necessarily be incurred in prosecuting this FLSA case to collective action

settlement over the course of a year – including (1) analyzing tens of thousands of pay and time

records for 134 individuals over a three-year period and (2) moving for a preliminary injunction

to address Plaintiffs’ termination of employment; and (3) moving for a protective order to

address the FLSA’s opt-in process – the reasonableness of Plaintiffs’ counsel’s request for

approval of attorneys’ fees is readily apparent. This is so, particularly because of the overtime

and retaliation results achieved and the time and labor resources required to prosecute this

case.
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 10 of 18




                  ii.     The Novelty and Difficulty of the Questions:

       Employment cases, and FLSA cases in particular, often present both novel and difficult

legal questions. Although this case began as a straightforward overtime collective action, it

quickly evolved into a more complex lawsuit. Upon learning that Plaintiffs had filed this action,

Defendants fired both of them, which transformed this action into a hybrid overtime and retaliation

lawsuit. This also prompted Plaintiffs’ counsel to file an emergency motion for preliminary

injunction and temporary restraining order to address the retaliation. Additionally, Plaintiffs

moved for conditional certification, which the Court granted. Then, during the opt-in period,

Plaintiffs learned that Defendants were sabotaging the collective action process by intimidating

employees from participating in the lawsuit. As a result, Plaintiffs filed an Emergency Motion (1)

to Reopen Case for Limited Purpose of Addressing Motion for Protective Order and (2) for

Protective Order and Other Relief.        Following this motion, Plaintiffs’ counsel negotiated

extensively with Defendants’ counsel to resolve these issues. As a result of these negotiations, the

Court granted Plaintiffs’ motion.    This action began as a relatively straightforward overtime

collective action, but metamorphosed into a more complex and difficult lawsuit.

                  iii.    The Skill Requisite to Perform the Legal Service Properly:

       Here, two skilled co-lead counsel had to present a detailed FLSA overtime and retaliation

case in a form that made it relatively easy to understand. Plaintiffs’ counsel’s expertise was

called upon throughout the litigation to obtain clear evidence and prepare a foundation to prevail

at trial, should the parties not be able to resolve the matter. Additionally, Plaintiffs’ counsel

communicated with 134 of Defendants’ current and former employees to aid them in understanding

their overtime and retaliation rights. With daily (and sometimes hourly) phone calls from many of
      Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 11 of 18




the 134 individuals – most of whom lacked email for communication purposes – this required

substantial time and effort.

                   iv.     The Preclusion of Other Employment by the Attorneys Due to
                           Acceptance of the Case:

        This factor supports the requested award. While Plaintiffs’ counsel could litigate other

matters alongside this matter, Plaintiffs’ attorneys were partially precluded from other

employment as a product of the substantial time they had to spend on the litigation of this action.

This time included addressing Defendants’ actions in response to Plaintiffs’ filing of this lawsuit

and Opt-In Plaintiffs’ joining the lawsuit, as well as daily phone calls from many of the 134 Opt-In

Plaintiffs.

                   v.      The Customary Fee:

        “A reasonable hourly rate is the prevailing market rate in the relevant legal community for

similar services by lawyers of reasonably comparable skills, experience, and reputation.” Norma

v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). But courts in the

Eleventh Circuit have held that a party may recover fees based on rates outside the district where

the court sits if the party can show why it was necessary to go outside the district and

obtain counsel at higher rates. Lamensdorf v. Welin, No. 5:09-CV-424 MTT, 2011 WL 6151431,

at *4 (M.D. Ga. Dec. 12, 2011); Mun Hwa Broad. Corp. v. Mi Sook Kim, 2007 WL 1730137 at *2

(M.D. Ga. June 13, 2007). Plaintiffs assert that they can meet this standard and seek a $350 per

hour rate for Attorneys Weiner and Prioleau, which is already discounted from their standard rate

for FLSA matters of $385 per hour, and a $250 per hour rate for Attorney Bullock, which is

discounted from his standard rate for FLSA matters of $300 per hour.
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 12 of 18




       While Plaintiffs’ counsel is aware that their rate may not be customary in the Waycross

Division, they contend that it was necessary for Plaintiffs to go outside the district to retain their

counsel. Throughout Plaintiffs’ employment with Defendants, and especially after Plaintiffs filed

this action, Defendant Freedom Trailers’ senior executives tried to influence Plaintiffs and their co-

workers to not pursue a legal action by telling them that they knew the judges and attorneys in the

local legal market. (See Declaration of Carlos Wardlaw (attached as Exhibit C, ¶4.) The effect of

Defendants’ actions was to maintain the pay practices at issue in this lawsuit for many years, until

Plaintiffs decided to stand up for their rights. But when Plaintiffs decided to pursue this legal

action, they took Defendants threats seriously and believed that retaining counsel in the closest

large legal market – Atlanta – would best protect them from Defendants implied threats. (Id., ¶¶6-

7.) Presciently, Plaintiffs’ fear of retaliation for standing up for their rights came to fruition:

Defendants fired them as soon as they were served with the lawsuit, writing on Plaintiffs’

separation notices that they were fired because of the lawsuit. (Id., ¶8.)

       As set forth in the Declarations of Attorneys Weiner and Prioleau, the requested $350

hourly rate has been approved in several cases in years’ past:

           •   January 10, 2018: Approval of $350 per hour for Oscar Prioleau in an FLSA case
               by the Honorable Amy Totenberg. Johnnie R. Winston, III v. Kandi Burruss-
               Tucker and Kandi Koated Entertainment, Inc. (N.D. Ga., Civil Action No. 1:16-cv-
               04018-AT, Dkt. 115)

           •   May 11, 2016: Approval of $350 per hour for Oscar Prioleau by the Honorable
               Eleanor L. Ross. Christopher Neilly v. J & T Management, Inc. d/b/a American
               Kidney Fund Pick Up Service. (N.D. Ga., Civil Action No. 1:16-cv-0013-ELR,
               Dkt. 13.

           •   September 14, 2015: Approval of $350 per hour for Andrew Weiner in a case by
               the Honorable Leigh Martin May, Diniz, et al. v. Alpha OB GYN Group, P.C.
               (N.D. Ga., Civil Action No. 1:12-cv-02621-LMM, Dkt. 106);
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 13 of 18




           •   March 31, 2015: Approval of $350 per hour for Andrew Weiner in a case by the
               Honorable Charles A. Pannell, Jr. Massey v. Retirement Corp. of Amer. Ptnrs.,
               L.P. (N.D. Ga., Civil Action No. 1:12-cv-02949-CAP, Dkt. 68);
           •   October 3, 2014: Approval of $350 per hour for Andrew Weiner in a case by the
               Honorable Amy Totenberg. Towns, et al. v. Southeastern Shuttle Services, Inc., et
               al. (N.D. Ga., Civil Action No. 1:14-cv-1337-AT, Dkt. 27); and
           •   July 17, 2013: Approval of $350 per hour for Andrew Weiner in a case by the
               Honorable Owen J. Forrester. Diniz, et al. v. Alpha OB GYN Group, P.C., et al.
               (N.D. Ga., Civil Action No. 1:12-cv-02621-WCO, Dkt. 40).

(Exs. A, B). Plaintiffs respectfully request that the Court approve the requested hourly rate.

                   vi.       Whether the Fee is Fixed or Contingent:

       Here, the fee arrangement was contingent because the time required by the case was too

great as to exceed the resources of Plaintiffs and their families. Both Plaintiffs and their counsel

took a significant risk in pursuing this matter against Defendants because of the risk of not

succeeding and the costs necessary to pursue the action.

                   vii.      Time Limitations Imposed by the Client or the Circumstances:

       The time limitations imposed here came mainly from the litigious nature each step of

this case required.       These limitations included filing motions to address Defendants’ actions in

response to Plaintiffs’ filing of this lawsuit and Opt-In Plaintiffs’ joining the lawsuit, as well as

daily phone calls from several of the 134 Opt-In Plaintiffs. In addition, Plaintiffs’ counsel spent

significant time reviewing and analyzing each of weekly pay and time records for 134 individuals,

spanning a three-year period, to calculate the overtime owed on a week-to-week basis. These

actions required Plaintiffs’ attorneys to focus a very substantial portion of their time and

practice resources to prepare this case for resolution, whether at trial or through mediation.

                   viii.     The Amount Involved and the Results Obtained:

       The settlement reflects that Plaintiffs achieved very successful results on their claims.
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 14 of 18




Indeed, the settlement provides all Opt-In Plaintiffs – including those who were coerced to

withdraw their opt-in consents in the first instance – with all of the overtime that they are owed

based on a review and analysis of their pay and time records, and much of their liquidated

damages.     Additionally, Plaintiffs’ counsel successfully addressed Defendants’ retaliatory

termination of the Named Plaintiffs and obtained an Order requiring Defendants to return them to

work. Plaintiffs’ counsel even obtained a significant benefit for employees who did not opt-in to

this matter, as Defendants changed their pay practices after Plaintiffs filed this action and began to

pay employees overtime compensation. That nearly 40% of eligible employees chose to participate

in this action by opting-in, and no Opt-In Plaintiff chose to reject the settlement when given the

opportunity to do so, show the excellent results obtained by Plaintiffs’ counsel. Pierre-Val, 2015

WL 12843849, at *2 (approving fee award of 32% in FLSA action and explaining that “Class

Counsel negotiated a fair and favorable settlement for the Class Members, as evidenced by the

high response rate and the fact that no Class Member objected to any of the terms of the

Settlement Agreement.”). This factor weighs heavily in support of this motion.

                   ix.     The Experience, Reputation, and Ability of the Attorneys:

       The significant experience, reputation and ability of Plaintiffs’ counsel are set forth in

their attached declarations.     (Exs. A, ¶¶3-5; B, ¶¶3-6.)      Additionally, Plaintiffs’ counsel’s

performance throughout this litigation evidences the ability of counsel and the quality, time, and

level of effort devoted to the representation.

                   x.      The Undesirability of the Case

       As courts have recognized, civil rights cases are undesirable and thus warrant payment

of a higher fee to attract competent counsel. Johnson, 488 F.2d at 719. Civil rights cases are
        Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 15 of 18




viewed as undesirable by most members of the Bar. See, e.g., Searcy v. Crim, 692 F.Supp.1363,

1366 (N.D. Ga. 1988) (“Although there are a great many lawyers in the Atlanta area, the Court

is aware that it is difficult to find any attorney who has the time, experience and financial

cushion necessary to accept Section 1983 cases on a contingency basis”).                         Civil rights

litigation generally is seen “as very undesirable because it stigmatizes an attorney as a ‘civil

rights lawyer’ and thus tends to deter fee-paying clients, particularly high-paying commercial

clients, from seeking assistance from that lawyer.”              Stokes v. City of Montgomery, 706 F.

Supp. 811, 815 (M.D. Ala. 1988), aff’d, 891 F.2d 905 (11th Cir. 1989). The undesirability of this

case weighs in favor of a full award of fees.

C.        Costs Request

           Under 29 U.S.C. §216(b), in addition to attorneys’ fees, a court shall award a prevailing

    plaintiff “the costs of the action.” As itemized in Paragraphs 19-20 of Exhibit A, Plaintiffs seek

    recovery of litigation expenses incurred on their behalf in the amount of $5,213.46.8 These

    expenses include the filing fee ($400), pro hac vice fees ($600.00), mediator costs ($3,725.46),

    and postage costs,9 and all were necessary for the prosecution of this action. See Key v. Kight, No.

    6:14-CV-39, 2017 WL 915133, at *9 (S.D. Ga. Mar. 8, 2017), report and recommendation

    adopted, No. 6:14-CV-39, 2017 WL 1128601 (S.D. Ga. Mar. 24, 2017) (approving

    reimbursement for filing fee, materials needed for attorney’s pro hac vice admission and

8
         Plaintiffs have excluded from their request the costs of all legal research expenses, photocopy and
printing costs, and PACER expenses. These costs were not minimal, as Plaintiffs incurred expenses in (1)
legal research relating to the motion practice and (2) printing the several notices sent to the opt-in plaintiffs
in the case.
9
         To date, Plaintiffs have incurred $225.36 in postage costs. This cost consists mostly of the various
first-class mailings throughout the case to the 134 opt-in plaintiffs. Because Plaintiffs’ counsel is handling
the administration of a settlement, they anticipate they will incur another $262.64 in postage costs to mail all
settlement checks. This anticipated cost is included in Plaintiffs’ request for $5,213.46 in costs.
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 16 of 18




 postage).

                                            CONCLUSION

        For the reasons set forth above and for good cause shown, Plaintiffs respectfully request

that this Court enter the Order approving their request for attorneys’ fees in the amount of

$164,927.18 and costs of $5,213.46.



Respectfully submitted this 19th day of January, 2018.



                                                By: __s/ Andrew Weiner________
                                                John F. Beasley, Jr.
                                                Georgia Bar No. 045010
                                                JF BEASLEY LLC
                                                31 North Main Street
                                                P.O. Box 309
                                                Watkinsville, GA 30677
                                                Tel: (706) 769-4410
                                                Fax: (706) 769-4471
                                                jfbeasley@jfbeasleylaw.com

                                                Andrew L. Weiner
                                                Georgia Bar No. 808278
                                                Jeffrey B. Sand (pro hac)
                                                Georgia Bar No. 181568
                                                THE WEINER LAW FIRM LLC
                                                3525 Piedmont Road
                                                7 Piedmont Center, 3rd Floor
                                                Atlanta, Georgia 30305
                                                (404) 205-5029 (Tel.)
                                                (404) 254-0842 (Tel.)
                                                (866) 800-1482 (Fax)
                                                aw@atlantaemployeelawyer.com
                                                js@atlantaemployeelawyer.com

                                                Oscar E. Prioleau, Jr. (pro hac)
                                                Georgia Bar No. 588510
                                                PRIOLEAU & MILFORT, LLC
                                                3800 Camp Creek Parkway
                                                Building 1800, Suite 124
                                                Atlanta, Georgia 30331
Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 17 of 18




                              (404) 526-9400 (Tel.)
                              (404) 920-3330 (Fax)
                              oscar@pmlawteam.com

                              COUNSEL FOR PLAINTIFFS
     Case 5:17-cv-00010-LGW-RSB Document 113 Filed 01/19/18 Page 18 of 18




                                   CERTIFICATE OF SERVICE

          I hereby certify that on this date, I electronically filed the foregoing UNOPPOSED

MOTION FOR ATTORNEY’S FEES AND COSTS with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such filing to the following attorney of

record:

                                               W. JONATHAN MARTIN II
                                               ALYSSA K. PETERS
                                               577 Mulberry Street, Suite 710
                                               P.O. Box 1975
                                               Macon, GA 31202-1975
                                               (478) 750-8600
                                               jmartin@constangy.com
                                               apeters@constangy.com


          This 19th day of January, 2018.


                                               /s/ Andrew Weiner
                                               Counsel for Plaintiffs
